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           ORDERED in the Southern District of Florida on August 16, 2020.




                                                                         Laurel M. Isicoff
                                                                         Chief United States Bankruptcy Judge
___________________________________________________________________________

                                         UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF FLORIDA

           In re:                                                           Case No.: 20-13625-LMI
                                                                            Chapter 13
                    Isabel C Meneses

                                Debtor(s)            /

           ORDER SUSTAINING OBJECTION TO CLAIM OF INTERNAL REVENUE SERVICE

                    THIS MATTER having come to be heard without objection on the consent calendar on
           August 6, 2020 at 9:00 am upon Debtor’s Objection to Claim of Internal Revenue Service (ECF#26;
           claim #2-1) and based on the record, IT IS;
                    ORDERED AND ADJUDGED:

           1.       The objection to the proof of claim of Internal Revenue Service is SUSTAINED.

           2.        The claim is stricken and disallowed.

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           The Law Office of Robert Sanchez, P.A., is hereby directed to mail a conformed copy of this order to all affected parties
           and file a certificate of service.

           Respectfully Submitted:
           Robert Sanchez, P.A.
           355 West 49th Street
           Hialeah, FL 33012
           Fl. Bar No. 0442161
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           LF-70 (rev. 12/01/09)
